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                       U M TED STATES D ISTRICT COURT
                   FOR THE SOUTHERN D ISTRICT OF FLORIDA


                      CASE N O .:9:2018-cv-80078 DIMITROULEAS/MATTHEWMAN
                     STA TE CA SE N O .: 502007CA 013909XXXX


  CITY OF LAKE W ORTH,FloridaA
  Florida M unicipalCorporation,
                Plaintiffts),
  V S.


  CHARI,OTTE TAYLOR
  M D M ICH AEL M .PHILLIPS,
                Defendantts)
         D EFENDANT,CH AR LO TTE TAYLOR 'S N O TICE O F REM O VAL

  Charlotte Tayloris a D efendantin a PENDING civilaction broughtagainstherin

  the Fifteenth JudicialCircuitin and forPalm Beach County,Florida,and pursuant

  to28U.S.C.jj 1331,1367,1441,and 1446,hereby givesnoticeoftheremovalto
  this Courtofthe case styled,City Of Lake W orth,Florida A Florida M unicipal

  Corporation       Chadotte Taylor And M ichael M . Phillips, in Case N o.

  502007CA013909XXXX . A s grounds for this rem oval on federal question

  jurisdiction appearson the face oftherecord,in supportofthe notice,Defendant
  states the follow ing:

          Charlotte TavlorisaD efendantin acivilaction broughtagainstherin the

          CircuitCom'tofthe Fifteenth JudicialCircuitin and forPalm Beach County,

          Florida,styled City OfLake W orth,FloridaA FloridaM tlnicipal

          Com oration v.Charlotte TaylorA nd M ichaelM .Phillips,C ase N o.

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        502007CA013909.In accordancewith28U.S.C.j 1446(a),acopy ofthe
        docket,allprocess,pleadingsand ordersreceived by D efendantsare

        attached asExhibitA .

  2.    The aforem entioned action isone overw hich thisCourthasoriginal

        jurisdiction undertheprovisionsof28U.S.C.j1332,andisonewhichmay
        berem oved to thisCourtby theD efendantCharlotte Taylorherein,pursuant

        to28U.S.C.jj1441and 1446,in that:
              A.      28U.S.C.j1446(b)statesinpertinentpartthat:''ifthecasestatedbythe
                      initialpleading isnotremovable,a noticeofremovalmay be filedwithin
                      thirty daysaherreceiptby the defendant,tluough service orotherwise,of
                      a copy ofan amended pleading,m otion,orderorotherpaperfrom which it
                      may firstbeascertainedthatthecase isonewhich isorhasbecome
                      removable.''

              B.      Itisa civilaction in which theamountin controversy willexceed thesum
                      ofSeventy-FiveThousandDollars($75,000.00),exclusiveofinterestand
                      costs.


        CHA RLO TTE TAY LO R H AS STAN DIN G PURSUANT TO TH E
        FO L LO W IN G :
              $$  Itiswellestablished thata credible threatofpresentorfutttre
               .. .

              criminalprosecution w illconferstanding.See,e.g.,Virginia v.Am.
              BooksellersAss'n,Inc.,484 U .S.383,392-93,108 S.Ct.636,98
              L.Ed.2d 782(1988)(holdingthattheinjury-in-factrequirementwas
              m et,in part,because ''plaintiffs have alleged an actualand w ell-
              fotmded fearthatthelaw willbeenforcedagainstthem''), .Steffelv.
              Thompson,415U.S.452,459,94 S.Ct.1209,39L.Ed.2d 505(1974)
              (''(11tisnotnecessary that(aparty)firstexposehimselftoactual
              arrestorprosecution to beentitled to challenge a statute thathe claim s
              deterstheexerciseofhisconstitutionalrights.''l;Doev.Bolton,4l0
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              U.S.179,188-89,93 S.Ct.739,35L.Ed.2d 20l(1973).Thisis
              because a crediblethreatofpresentorfutureprosecutionisan injury
              sufficientto conferstanding,even ifthere isno history ofpast
              enforcem ent,seeBolton,4l0 U .S.at188,93 S.Ct.739,and a speaker
              who fearsprosecution m ay engage in self-censorship,which isitself
              anotherinjury,seeAm.Booksellers,484 U:S.at392,108S.Ct.636
              (''(T)healleged dangerof(thechallengedlstattlteis,in largem easure,
              oneofself-censorship.''l'
                                      ,seealsoAshcro)tv.ACLL( 542 U.S.656,
              670-71,124 S.Ct.2783,159L.Ed.2d 690(2004)(''W herea
              prosecution isa likely possibility ...speakersmay self-censorrather
              than risk theperilsoftrial.There isapotentialforextraordinary harm
              and aseriouschillupon protected speech.'').
                    SeealsoM edlmm une,lnc.v.G enentech,lnc.,549 U .S.118,
              128-129,127 S.Ct.764,166 L.Ed.2d 604 (2007)(''(W )here
              threatened action by governm entisconcerned,we do notrequire a
              plaintiffto exposehim selfto liability beforebringing suitto challenge
              thebasisforthe threat--forexample,the constitutionality ofalaw
              thzeatenedtobeenforced.Theplaintiffsown action (orinaction)in
              failing to violatethe 1aw elim inatesthe im m inentthreatof
              prosecution,butnonethelessdoesnotelim inate Article11l
              J'urisdiction.'
                            ');Ellisv.Dyson,421U.S.426,432,95 S.Ct.1691,44
              L.Ed.2d 274 (1975)(''(F1ederaldeclaratoryreliefisnotprecluded
              when no state prosecution ispending and afederalplaintiff
              delnonstratesa genuine threatofenforcem entofa disputed state
              crim inalstatute,w hetheran attack ism ade on the constitutionality of
              the statuteon itsfaceorasapplied.'').
              For the sam e reasons, because the plaintiff is still exposed to
              prosecution under the statute,the panel held that the plaintiffs
              standing stillexistsand the case is notm oot.SeeRangra,566 F.3d
              at520;ArizonansforOm cialEnglish v.Arizona,520U.S.43,68 n.
              22,117 S.Ct.1055,137 L.Ed.2d 170 (1997) (a case is not m oot
              where ''-ltlhe requisite personalinterest that must exist at the
               comm encem ent of the Iitigation Ito give rise to standingl
               continuelsl throughout its existence-'''tquoting u-s. Parole
               Com m 'n v.Geraghty,445 U .S.388,397,100 S.Ct.1202,63 L.Ed.2d
               479 (l980p),
                          'see also Steffel,415 U.S.at459,94 S.Ct.at 1215-16
               (holdine that ''alleeed threats cannot be characterized as
               'im aeinarv or speculative''' w here petitioner w as w arned that
               continued exercise of his constitutional riehts w ould result in

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               prosecution and petitioner's com panion w as prosecuted for
               eneaeine in the sam e conduct(quotine Younter v.H arris.401 U.S.
               37.41.91 S. Ct.746.749.27 L.Ed.2d 669 (1971):Poe v. Ullm an.
               367 U.S.497.508.81 S.Ct.1752.1758-1759.6 L.Ed.2d 989 (1961s).

        JURISDICTION:ThisCourthasjurisdiction overthisactionpursuantto
        Title28U.S.C.jj1331and 1343(3)in thatthecontroversy arisesunderthe
        United StatesConstitution and under42 U.S.C.j1983 and28U .S.C.

        jj2201and2202.ThisCourthasauthorityto award attorney'sfeespursuant

        to42 U.S.C.j1988.Defendant,CharlotteTaylorfurtherinvokesthe

        supplem entaljmisdiction ofthisCourtunder28U.S.C.jl367(a)tohearand
        adjudicatestate1aw claims.Each anda1loftheacts(orthreatsofacts)
        alleged herein w ere done by the otherparties,ortheirofficers,agents,and

        elnployees,undercolorand pretense ofthe stamtes,ordinances,regulations,

        custom s and usages ofthe C ity O fLake W orth,a m unicipality ofthe State

        ofFlorida.

                   Rem ovallsTim elv PursuantTo 28 U.S.C.k 1446(b)

  5.    Thislawsuitisa civilaction w ithin the meaning oftheA ctsofCongress

        relating to rem ovalofcauses.

  6.    D efendantCity O fLake W orth purchased the tax deed on M av 27.2014

        for:

               ADD 1TO TOW N OF LAK E W ORTH LT 14BLK 48

               W ITH Property ldentification N um ber: 38-43-44-27-01-048-0140.

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        DefendantM ichaelM .Phillipsreceived a copy ofthe initialpleading

        captioned ttcomplaint''by processserveron Septem ber25,2007 at7730

        N .W .50 StreetApt.107,Lauderhill,FL 33351.D efendantCharlotteTaylor

        received a copy oftheinitialpleading captioned Glcomplaint''by process

        serveron M arch 10,2008 atthe Palm Beach County Courthouse,hallw ay in

        frontofRoom l1A,W estPalm Beach,FL.

  8.    On N ovember25,2014 the trialcourtGRANTED defendantCharlotte

        Taylor'sM otion To Dismisswith Prejudiceduetothesaleofproperty filed
        byheron June2,2014 (DE 624j.
  9.    The case wasdism issed asm ootand the orderw asrecorded in Book 27194

        Page206 (DE 6241.
  10. The trialcourtvacated the foregoing and entered ûlorderGranting Plaintiff,

        City ofLakeW orth'sM otion To VacateDismissalW ithPrejudice (DE
        7101.
        On Decem ber21,2017 the clerk entered aCCD O N OT DO CKET ON TI-HS

        CASE''as(DE 7171oftheStateCourtDocketlin pendingCaseNo.
        2007CA03909 in violation ofCharlotte Taylor'srightto accessto the courq

        rightto file papersin apending caseand in violation of28U .S.C.1654.

        Charlotte Tayloris indigent,cannotafford attorney and hasN O m eans to

        appearbeforetlze courtin thispending case.

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  13. 28U.S.C.j 1446(b)statesinpertinentpartthat:''ifthecasestatedbythe
        initialpleading isnotrem ovable,a notice ofrem ovalm ay be filed w ithin

        thirty daysafterreceiptby the defendant,through service orothenvise,ofa

        copy ofan am ended pleading,m otion,orderorotherpaperfrom which it

        m ay firstbe ascertained thatthe case isone which isorhasbecom e

        rem ovable.''

        TheremovalofthisactiontothisCourtistimely under28U .S.C.j 1446

        becausethisNoticeofRemovalisfiled within thirty(30)daysafter
        D ecem ber21,2017,which isthe date Defendant,Charlotte Taylorfirst

        ascertained thatthe caseisonew hich isorhasbecom e rem ovable.

        The United StatesDistrictCourtforthe SouthenzDistrictOfFlorida isthe

        properplaceto filethisNoticeofRemovalunder28U.S.C.j 1441(a)
        because itisthe federaldistrictcourtthatem bracestheplace wherethe

        originalaction wasfiled and ispending.

                           FederalO uestionts)Exists
        Constitutionaland Statutorv BasisforFederalO uestion Jurisdiction

  l6. Federalquestionjtlrisdiction existsoverPlaintiffs'claimsunder28U.S.C.j
        l331becausetheresolution ofPlaintiffs'claimswillrequireadjudication of
        disputed questions offederallaw .


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        To the extentthe Com plaintallegesstatutory,state com m on 1aw orother

        nonfederalclaims,thisCourthassupplementaljurisdiction overany such
        claimsunder28U.S.C.j 1367 becausethoseclaimsariseoutofthesame
        operative factsasPlaintiffs'claim sand ttform partofthe sam ecase or

        controversy underArticlell1oftheUnited StatesConstitution.''28U.S.C.j

        l367(a).
  l8. Becauseof violationts)of28U.S.C.1654,U.S.Constitution Article1
        Section 10and llU.S.Codej 505 claim sariseunderthelawsoftheUnited
        States,removalofthisentire cause ofaction istherefore appropriateunder

        28U.S.C.j l441(a)-(c).
   19. City ofLake W orth violated Charlotte Taylor'srightsUnderU .S.

        Constitution Article 1Section 10 by impairing the Obligation ofContract

        between Charlotte Taylorand M ichaelPhillips.

  20. M ichaelPhillipsisthejudgmentdebtorofCharlotte Taylor.
        CharlotteTaylor'sjudgmentagainstM ichaelPhillipsisrecordedwiththe
        State ofFlorida with Judgm entlien num berJ02000087415 and recorded in

        OrderBook l1250 Page 412 on July 23,1999 and OrderBook 11319 Page

        1861 on August27,1999.



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  22. City O fLakeW orth,a m unicipality ofthe StateofFlorida doesNOT havea

       judgmentagainstM ichaelPhillips.
  23. City O fLakeW orth,am unicipality ofthe StateofFlorida doesNOT havea

       judgmentagainstCharlotteTavlor.
  24. DefendantCity OfLakeW orth purchased thetax deed on M av 27.2014

        for:

               ADD 1TO TOW N OF LAK E W ORTH LT 14BLK 48

               W ITH Property ldentiscation N um ber: 38-43-44-27-01-048-0140.

  25. M ichaelPhillipsfiled aPetition forreliefunderChapter7 oftheU .S.C.in

        the United StatesBankruptcy Cotlrtforthe Southern DistrictofFlorida

        which bearsthe casenum ber01-3l38l-BKC-SHF.

  26. M ichaelPhillipsfiled thePetition on M arch 22.2001.

  27. Palm Beach County,Floridadid notfileaclaim under11U.S.Codej505-
        forthe courtto determ ine the liability ofM ichaelPhillipsin hisbankruptcy

        casenumber01-3l381-BKC-SHF forthe courtto determ ine whatam ountif

        any wasowed to Palm Beach County,Florida.

  28. City OfLake W orth,a m unicipality ofthe State ofFlorida did notfile a

        claim under11U.S.Codej505-forthecourttodeterm inetheliability of



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       M ichaelPhillipsin hisbankruptcy casenum ber0l-3l381-BKC-SHF to have

        the determ ination ofthe am ountifany w asow ed to City OfLake W orth.

  29. A banknlptcy courthasauthority to determ ine the am ountofliability

        M ichaelPhillipsowesifany and notwithstanding M ichaelPhillips'sfailure

        to com ply w ith state1aw procedttres.See,e.g.,In reA W B Associates,l44

        B.R .at277,
                  .ln re499 W .W arren Street,143 B .R .at329,
                                                             .In re Ledgem ere,

        135 B .R .at 196.
  30. Section 505 oftheBankruptcy Code wasenacted to protectCharlotte Taylor

        ''from the dissipation ofM ichaelPhillipsestate'sassetswhich resultsif

        CharlotteTaylorisboundbyagovernmentaljudgmentagainstM ichael
        Phillipsasherjudgmentdebtor,dueto hisailingcondition,which hefailed
        to contest.''ln re A%   Associates,144 B .
                                                 R .at277,citing ln re Galvano,

         116B.R.367,372 (Bankr.E.D.N.Y.1990).In rePIPER AIRCM FT
         COR PO R ATIO N.D ebtor.171B.R .415 (A ueust31.1994)U nited States

         Banlkruptcv C ourt.S.D.Florida.Palm Beach Division.

   31. Section 197.582 oftheFlorida StatutesU nconstitutionally deniesdue

         processin violation oftheU S Constitution by depriving Charlotte Taylorof

         property w ithoutdue processoflaw .



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   32. Section 197.582 ofthe Florida StatutesdeniesCharlotte Taylorequal

        protection ofthe laws guaranteed underthe United StatesConstitution

        withoutreqtliringtheCity ofLakeW orthtocomply l1U.S.Codej505.
                  TheA m ountin Controversv Exceeds $75.000.00


  33. Them atterin controversy willexceed the sum orvalue of$75,000.00,

        exclusiveofinterest,costsand attorney'sfees.

  34. When itisnotapparentfrom thefaceoftheComplaintthatthejmisdictional
        am ountism et,the Courtcan consider''otherpapers''received by the

        defendantto determ ine ifthe caseisrem ovable.See Stram elv.GE Capital

        Sm allBus.Fin.Corp.,955F.Supp.65,68(E.D.Tex.l997),
                                                         '28U.S.C.A.j
         1446(b).
  35. City OfLake W orth,a municipality ofthe State ofFloridahasrepresented to

        the courtthatthe City OfLake W orth claim sbillsto date am ountto

        $ 1,043,493.09.

  36. lnthiscase,thePlaintiffisallegingthatasaresultofallegedlienssubjectto
        tlze City ofLake W orth's claim s its isrequired to sue Charlotte Taylorand

        M ichaelM .Phillips.




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  37. The City ofLake W orth alleges thatM ichaelM .Phillip's banltruptcy case

        w as im m aterialand irrelevant.

  38. Charlotte Taylorcannotproduce a11the m aterialand relevantrecordsw ith

        herN otice ofRem oval.H ow evershould the Courtneed to review the actual

        recordsto determinewhethersubjectmatterjurisdiction exists,the
        undersigned w illprovide such docum entation to the Court.

  39. The City ofLake W orth'sclaim slisted to date to am ountto $ 1,043,493.090

        and doesnotaccountforthe improperchargesassociated with thiscase.

  40. Additionally,The City ofLake W orth'sclaim sare barred by the statute of

        lim itation and othersim ilarlaw s.

         Charlotte Taylorhashad an opportunity to review the aforem entioned

        recordsand claim sthatthe City ofLake W orth claim sare asaresultofthe

        subjectclaims,and atteststo thefactthatifawarded,thevalueoftheCity of
        LakeW orth 'sclaimswouldexceed thejurisdictionalrequirementsofthis
        Court.See Black v.State Farm M utualAutom obile Ins.Co.,2010 W L

        4340281at*l(S.D.Fla.Oct.22,2010)citing Pretkav.KolterCityPlaza1l,
        Inc.,608F.3d 744,755 (1lth Cir.2010)(''A defendantmay introduceits
         own affidavits,declarations,orotherdocum entation to m eetitsburden''of

         establishingjurisdiction). CharlotteTaylorhashad an opportunitytoreview
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            the aforem entioned and taking into accounttheCity ofLake W orth'sclaim s

           to the discovery Charlotte Taylorhasestablished the requisite am ountin

            controversy forrem oval.

                                                 ProceduralM atters

      42. Venue inthisCourtisproperpursuantto 28U .S.C.j 1441(a)andLocal
           Rule3.1becausethis action isbeing rem oved 9om state courtin w hich it

           w asoriginally filed,the CircuitCourtofthe Fifteenth JudicialCircuitin and

           forPalm B each C otm ty,Florida.

      43. TheD efendantwillgivewritten notice ofthe filing ofthisnotice asrequired

           by28U.S.C.j1446(d).A copy ofthisnoticewillbefiledwiththeClerk of
           the Courtfortlw Fifteenth JudicialCircuit,in and forPalm Beach County,

           Florida,asrequired by28U.S.C.j l446(d).
      44. A copy of a substantialam ountofprocess,pleadingsand ordersreceived by

           Defendantsare attached asExhibitA .

      45. An am ended record willbe filed w ith copy ofthe docket,a11process,

           pleadingsand ordersreceived by DefendantCharlotte Taylorw illbe filed

           afterFebnmry 1,2018 dueto herfinancialstatus.
  '



  D at '!' :Janu   ,
                   '   .'       .'
                                      20 l
                                     ,.      -
                 .,.   .
                ,'          .
                       z'

  Char otte Ta or, o
  3200 Sum m itBlvd.,Unit17055
  W estPalm B each,FL 33416

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                               CERTIFICATE OF SERVICE

         1HEREBY CERTIFY thatatrue and correctcopy oftheforegoing hasbeen

   served to the follow ing:


              M ichaelPhillips                    ChristopherStenrns, E sq.
            7730 N .W .50thStreet             2455 EastSunrise Blvd., Suite 1000
            Lauderhill,FL 33351                  FortLauderdale, FL 33304
         mike@ gmmvkidsmeal.com                      StearnsTl,ialnbg.com

              Charlotte Taylor
       3200 Summ itBlvd.,Unit17055
        W estPalm B each,FL 334 16
         courtrecords@ hotmail.com



  Dat 'Ja         /2 01 .
  Charlotte Taylor,    e
  3200 Sum m itBlvd.,Unit17055
  W estPalm B each,FL 33416




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